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                          UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, ET AL                                             CIVIL ACTION

VERSUS
                                                                  NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                  CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                         CIVIL ACTION

VERSUS
                                                                  NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


       A video status conference was held on September 1, 2023, following up on the conference

held the day prior.


       PRESENT:       Jonathan Hurwitz
                      Sara Rohani
                      Stuart C. Naifeh
                      Amitav Chakraborty
                      Counsel for Plaintiffs, Press Robinson, Edgar Cage, Dorothy Nairne,
                      Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante
                      Lewis, Martha Davis, Ambrose Sims, National Association for the
                      Advancement of Colored People Louisiana State Conference, and Power
                      Coalition for Equity and Justice

                      Jacob Shelly
                      J. Cullens
                      Counsel for Consolidated Plaintiffs, Edward Galmon, Sr., Ciara Hart,
                      Norris Henderson, and Tramelle Howard

                      John Carroll Walsh
                      Alyssa Riggins
                      John Conine, Jr.
                      Thomas A. Farr
                      Counsel for Defendant, Kyle Ardoin

                      Efrem Mark Braden
                      Erika Prouty
C:cv32a; T: 00:10
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                            Patrick T. Lewis
                            Robert Tucker
                            Counsel for Intervenor Defendants, Clay Schexnayder and
                            Patrick Page Cortez

                            Jeffrey Wale
                            Philip Gordon
                            Carey T. Jones
                            Counsel for Intervenor Defendant, State of Louisiana- Attorney General
                            Jeff Landry

                            Ernest Johnson
                            Counsel for Movant, Vincent Pierre

           Having considered the scheduling options presented in the conference on August 31, 2023,1

the Court announced its intent to order a schedule that allows for new expert witnesses to be

offered. The Court then presented the parties with an additional option: a brief continuance of the

remedial hearing to allow for more expansive pre-hearing discovery. The parties will confer as

soon as possible and notify the Court of their positions no later than Wednesday, September 6,

2023—a joint agreed scheduling proposal would be welcome but is not expected. Stated positions

should address:

      x    Continuing the Remedial Hearing to be held in the week of October 23 or November 6

      x    Whether Plaintiffs will offer a new proposed remedial plan

      x    Whether both parties will introduce new expert witnesses

      x    Discovery and briefing schedules that accommodate the above.

      Signed in Baton Rouge, Louisiana, on September 1, 2023.



                                                           
                                                     SCOTT D. JOHNSON
                                                     UNITED STATES MAGISTRATE JUDGE



1
    See Minute Entry for Scheduling Conference August 31, 2023. (R. Doc. 271).
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